April 7, 2006

Ms. Susan Lea Hays
Law Office of Susan Hays
3219 McKinney Avenue, Suite 1500
Dallas, TX 75204

Mr. Eric V. Moye
Vial, Hamilton, Koch &amp; Knox
1700 Pacific Ave., Ste. 2800
Dallas, TX 75201

Mr. Stephen  Poole
7272 Marvin D. Love Fwy., #2814
Dallas, TX 75237

Ms. Carla Ranger
4012 Treeline
Dallas, TX 75224
Jordan  Blair
3615 Kimball Ridge
Dallas, TX 75233


Mr. Joe  Tave
3330 Shady Hollow
Dallas, TX 75233


Mr. Walter  Lewis  Price
926 Wolf Creek Circle
Dallas, TX 75232

Ms. Carol  King  Arnold
835 Timber Dell
Dallas, TX 75232

RE:   Case Number:  06-0275
      Court of Appeals Number:  05-06-00430-CV
      Trial Court Number:

Style:      IN RE  MARION BARNETT

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed order  in  the
above-referenced cause.  The Court's opinion will follow.


                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Gena Pelham, Deputy Clerk
Enclosure
|cc:|Ms. Lisa    |
|   |Matz        |

